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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,


 v.          CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANUEVA, et al.

                                     /


                                           ORDER


        This cause is before the Court on:

        Dkt. 779      Supplemental Motion in Limine (Jerry W. Green, Jr.)

        Defendant Jerry W. Green, Jr. moves to exclude any mention of Defendant
 Green being a “two-time murder winner,” and any mention of a child in the vehicle of
 Defendant Green when Defendant Green was arrested on June 6, 2012, pursuant to
 Fed. R. Ev. 403, because the probative value of the evidence is substantially
 outweighed by the danger of unfair prejudice, confusing the issues, misleading the jury,
 undue delay, wasting time, or needlessly presenting cumulative evidence.


        The lyrics of a rap video include the reference to Defendant Jerry W. Green, Jr.
 as a “two time murder winner.” The Court has denied Defendant Jerry W. Green, Jr.’s
 Supplemental Motion in Limine to Exclude Rap Videos and Lyrics (Dkt. 481) without
 prejudice, and will revisit the admissibility of the evidence at trial (Dkt. 888). Defendant
 Green’s Supplemental Motion in Limine (Dkt. 481) also requested exclusion of any
 evidence or testimony outside the context of rap videos related to Defendant Green’s
 statements of being a “two time murder winner.”


        The Court previously denied Defendant Jerry W. Green, Jr.’s Motion in Limine
 (Dkt. 765) to exclude any mention of Defendant Jerry W. Green, Jr. being a “two-time
 murder winner” and any mention of a child in the vehicle of Defendant Jerry W. Green,
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 Jr. when Defendant Green was arrested on June 6, 2012 because Defendant Green did
 not meet his burden of establishing unfair prejudice (Dkt. 861).


         The Court’s authority to exclude evidence is extraordinary and should be
 exercised sparingly. U.S. v. Grant. 256 F.3d 1146, 1155 (11th Cir. 2001). The Court will
 revisit the admissibility of the evidence at trial. After consideration, the Court denies the
 Supplemental Motion in Limine. Accordingly, it is


         ORDERED that Defendant Jerry W. Green, Jr.’s Supplemental Motion in Limine
 (Dkt. 779) is denied. The Court will revisit the admissibility of the evidence at trial.


         DONE and ORDERED in Chambers in Tampa, Florida on this ^ ^ ^ c fav of June,
 2016.




 Copies to:
 All parties and counsel of record




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